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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   UNITED STATES OF AMERICA,                               CASE NO. CR19-0069-JCC
10                               Plaintiff,                  ORDER
11          v.

12   SCOTT THOMAS VISNICH,

13                               Defendant.
14

15          This matter comes before the Court on Defendant Scott Thomas Visnich’s motion to
16   proceed with his sentencing hearing by video conference (Dkt. No. 62). Having thoroughly
17   considered the motion and the relevant record, the Court hereby GRANTS the motion for the
18   reasons explained herein.
19   I.     BACKGROUND
20          On April 4, 2019, Mr. Visnich was charged by indictment with two counts of possession
21   of methamphetamine with intent to distribute and one count of possession of heroin with intent
22   to distribute. (Dkt. No. 13.) He has been in custody since his arrest in March 2019. (See Dkt.
23   Nos. 6, 11, 12.) In October 2019, Mr. Visnich pleaded guilty and his sentencing hearing was
24   scheduled for April 21, 2020. (Dkt. Nos. 37, 48, 50.) However, because of serious health and
25   safety concerns related to the COVID-19 pandemic, the Court continued Mr. Visnich’s
26   sentencing hearing to June 9, 2020, (Dkt. No 51), then to August 4, 2020, (Dkt. No. 52), then to


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 1   September 15, 2020, (Dkt. No. 56), and finally to October 21, 2020, (Dkt. No. 60). To avoid

 2   further delay, Mr. Visnich now moves to proceed with his sentencing by video conference. (Dkt.

 3   No. 62.)

 4   II.     DISCUSSION

 5           Because of the health risks posed by the COVID-19 pandemic, the Court may conduct a
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     felony sentencing hearing by video conference if the defendant consents and the Court finds that
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     the sentencing cannot be further delayed without serious harm to the interests of justice. See
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     Coronavirus Aid, Relief, and Economic Security (CARES) Act, Pub. L. No. 116-136, §§
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10   15002(b)(2)(A), (b)(4), 134 Stat. 281, 528–29 (2020); W.D. Wash. General Order No. 14-20

11   (Sept. 24, 2020), 04-20 (Mar. 30, 2020). Under General Order 15-20, in-person proceedings will

12   not resume until at least January 1, 2021. See W.D. Wash. General Order No. 15-20 at 2 (Oct. 2,
13
     2020). Mr. Visnich has a strong interest in the speedy resolution of this matter and the Court
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     concludes that delaying sentencing by three additional months would cause serious harm to the
15
     interests of justice.
16

17   III.    CONCLUSION
18           For the foregoing reasons, the Court GRANTS Defendant’s motion to proceed with his
19   sentencing hearing by video conference (Dkt. No. 62) on October 21, 2020 at 9:00 a.m.
20           DATED this 21st day of October 2020.




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                                                          John C. Coughenour
24                                                        UNITED STATES DISTRICT JUDGE
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